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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                             __________________________


TODD COURSER,

              Plaintiff,

v.                                                         Case No. 1:16-CV-1108

KEITH ALLARD, et al.,                                      HON. GORDON J. QUIST

            Defendants.
_______________________/


              ORDER VACATING IN PART DECEMBER 19, 2016 ORDER
                AND DISMISSING CLAIMS WITHOUT PREJUDICE

       By Order entered July 20, 2018, the Sixth Circuit has remanded this matter to this Court a

second time for the limited purpose of entering a final and appealable order incorporating the

Court’s conclusions in its May 31, 2018, Memorandum Regarding Legal Issue on Limited Remand

(ECF No. 146). Accordingly,

       IT IS HEREBY ORDERED that the portion of the Court’s December 19, 2016, Order

Regarding Voluntary Dismissal (ECF No. 127) dismissing Plaintiff’s claims against Defendant Krell

with prejudice is VACATED.

       IT IS FURTHER ORDERED that for the reasons set forth in the Court’s May 31, 2018,

Memorandum Regarding Legal Issue on Limited Remand (ECF No. 146), Plaintiff’s claims against

Defendant Krell are DISMISSED WITHOUT PREJUDICE.


Dated: July 24, 2018                                      /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE
